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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ROBERT P. STORCH; MICHAEL MISSAL;
 CHRISTI A. GRIMM; CARDELL K.
 RICHARDSON, SR.; SANDRA D. BRUCE;
 PHYLLIS K. FONG; LARRY D. TURNER;
 HANNIBAL “MIKE” WARE;

                               Plaintiffs,

                v.

 PETE HEGSETH, in his official capacity as
 Secretary of Defense; DOUGLAS A.
 COLLINS, in his official capacity as
 Secretary of Veterans Affairs; ROBERT F.
 KENNEDY, JR., in his official capacity as               No. 1:25-cv-00415-ACR
 Secretary of Health and Human Services;
 MARCO RUBIO, in his official capacity as
 Secretary of State; LINDA MCMAHON, in
 her official capacity as Secretary of
 Education; BROOKE ROLLINS, in her
 official capacity as Secretary of Agriculture;
 LORI CHAVEZ-DEREMER, in her official
 capacity as Secretary of Labor; KELLY
 LOEFFLER, in her official capacity as
 Administrator of the Small Business
 Administration; DONALD J. TRUMP, in his
 official capacity as President of the United
 States;

                               Defendants.



                 PLAINTIFFS’ NOTICE OF RECENT DEVELOPMENTS

       Plaintiffs write to advise the Court of factual developments that occurred after briefing

concluded in this case and (with one exception) after the oral argument.

       On March 24, 2025, President Trump announced that he was nominating Thomas Bell to

serve as inspector general of defendant U.S. Department of Health and Human Services, a position

lawfully occupied by plaintiff Christi A. Grimm. See PN55-7 — Thomas Bell — Department of
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Health and Human Services, Congress (Mar. 24, 2025). 1 A week later, President Trump

announced that he was nominating Anthony D’Esposito to serve as inspector general of defendant

U.S. Department of Labor, a position lawfully occupied by plaintiff Larry D. Turner. See

Nominations Sent to the Senate, The White House (Apr. 1, 2025).2 A month later, President Trump

announced that he was nominating William Kirk to serve as inspector general of defendant U.S.

Small Business Administration, a position lawfully occupied by plaintiff Hannibal “Mike” Ware.

See PN141-24 — William Kirk — Small Business Administration, Congress (May 6, 2025).3 And

that same day, President Trump announced that he was nominating Cheryl Mason to serve as

inspector general of defendant U.S. Department of Veteran Affairs, a position lawfully occupied

by plaintiff Michael Missal. See PN141-30 — Cheryl Mason — Department of Veteran Affairs,

Congress (May 6, 2025).4 The Senate has not yet acted on any of these nominations.

           To date, no plaintiff has received any communication from President Trump or anyone in

his administration regarding his or her purported removal since the email each received on January

24, 2025, see, e.g., Dkt. 1 ¶72. Nor are plaintiffs aware that President Trump has communicated

anything to Congress about their service as inspectors general, let alone any notice of their removal

from office or a substantive, case-specific reason for their purported terminations. See 5 U.S.C.

§403(b).




1
    https://www.congress.gov/nomination/119th-congress/55/7.
2
    https://www.whitehouse.gov/presidential-actions/2025/04/nominations-sent-to-the-senate-8f2a.
3
    https://www.congress.gov/nomination/119th-congress/141/25.
4
    https://www.congress.gov/nomination/119th-congress/141/30.
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May 9, 2025                        Respectfully submitted,

                                   /s/ Seth P. Waxman

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